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 8 AND QUEST DIAGNOSTICS CLINICAL
     LABORATORIES, INC.
 9

10                  IN THE UNITED STATES DISTRICT COURT
11               FOR THE EASTERN DISTRICT OF CALIFONRIA
12

13 DENETTE WILL, an individual,                 Case No. 2:22-CV-00454-KJM-DB
14                 Plaintiff,                   Hon. Kimberly J. Mueller, Ctrm 3
15        v.                                    [PROPOSED] ORDER GRANTING
                                                JOINT STIPULATION TO
16 QUEST DIAGNOSTICS
     INCORPORTATED, doing business as           CONTINUE THE SETTLEMENT
17 QUEST DIAGNOSTICS                            CONFERENCE
     INCORPORATED OF NEVADA, a
18 Nevada Corporation; QUEST                    Date: June 20, 2023
   DIAGNOSTICS CLINICAL
19 LABORATORIES, INC., a Delaware               Time: 10 a.m.
   Corporation; and DOES 1 through 50,
20 inclusive,

21                 Defendants.
                                                Complaint Filed: January 19, 2022
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                  ORDER GRANTING JOINT STIPULATION TO CONTINUE SETTLEMENT CONFERENCE
     Case 2:22-cv-00454-KJM-DB Document 21 Filed 06/08/23 Page 2 of 2


 1                                        ORDER
 2        Based on the foregoing Joint Stipulation To Continue the Settlement
 3 Conference and good cause appearing therefore:

 4        IT IS HEREBY ORDERED THAT:
 5        The settlement conference, currently set for June 20, 2023, is continued to July
 6 24, 2023 at 10:00 a.m.

 7        A pre-settlement conference call, currently set for June 14, 2023, is continued
 8 to July 20, 2023 at 2:00 p.m.

 9        The confidential settlement conference statement, currently due 10 court days
10 in advance of the continued settlement conference date, is due to Magistrate Judge

11 Jeremy D. Peterson’s chambers by July 10, 2023.

12        IT IS SO ORDERED.
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14 Dated: June 8, 2023

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                   ORDER GRANTING JOINT STIPULATION TO CONTINUE SETTLEMENT CONFERENCE
